














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-08-206-CV



BUILDING TOMORROW’S TALENT, LLC
	
APPELLANTS

AND MATTHEW GAY



V.



DORIS MARIE SIMS
 
AND 						 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLEES

SUCCESSION BUILDERS, LLC
 
	

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FROM THE 158
TH
 DISTRICT COURT OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered the parties’“Joint Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(2), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.

PER CURIAM

PANEL D: &nbsp;MCCOY, J.; CAYCE, C.J.; and LIVINGSTON, J. &nbsp;&nbsp;&nbsp;



DELIVERED: &nbsp;June 12, 2008 &nbsp;&nbsp;&nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




